                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )        No. 3-09-00218
v.                                           )
                                             )
FARZANEH SADKHOSRAVI                         )



                                            ORDER

       By order entered September 24, 2013 (Docket Entry No. 528), the government was directed
to file a response to the defendant's motion for return of passport (Docket Entry No. 518) by

September 30, 2013.

       No response to the motion has been filed, and the Court therefore assumes that there is no

opposition to the motion.1

       As a result, the defendant's motion (Docket Entry No. 518) is GRANTED.

       The United States Probation Office is directed to return the defendant's Iranian passport and

related Iranian travel document(s) to the defendant or her counsel.2

       The Clerk is directed to provide a copy of this order to Paul Montgomery, U.S. Probation

Officer.

       It is so ORDERED.



                                             JULIET GRIFFIN
                                             United States Magistrate Judge




       1
          The motion was filed on September 3, 2013, and, when the government did not file a
timely response, the Court provided the government additional time to file a response.
       2
            The conditions of the defendant's pretrial release, as provided in the order entered
October 7, 2009 (Docket Entry No. 136), included a directive that she surrender any passport to
Pretrial Services. After the defendant's plea of guilty to a misdemeanor, by judgment entered
August 7, 2013 (Docket Entry No. 479), the defendant was sentenced to time served, effectively
exonerating her bond and terminating all conditions of her release.


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